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                                  Exhibit B
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                                              February 22, 2023


 VIA ELECTRONIC TRANSMISSION


 The Honorable Anne Milgram
 Administrator
 U.S. Drug Enforcement Administration

 The Honorable Christopher Wray
 Director
 Federal Bureau of Investigation

 Dear Administrator Milgram and Director Wray:
         Genero García Luna worked with the Drug Enforcement Administration (DEA) and the
 Federal Bureau of Investigation (FBI) at the time that he funneled roughly 103,000 pounds of
 cocaine into the United States.1 On January 17, 2023, his trial for conspiracy to distribute cocaine
 internationally, conspiracy to distribute and possess cocaine, conspiracy to import cocaine,
 continuing criminal enterprise, and making false statements began in the Eastern District of New
 York. There, witnesses testified that García Luna used law enforcement personnel and equipment
 to help the Sinaloa Cartel transport shipments of cocaine.2 They also testified that García Luna
 helped Alturo Beltran Leyva—the leader of the Beltran Leyva Organization—evade arrest.
 Yesterday, the jury found García Luna guilty on all counts.
        As part of the scheme, Jesus Zambada—a Sinaloa Cartel boss—explained that the cartel
 would receive cocaine at the airport in Mexico City and then García Luna’s officers would
 unload the cocaine, place it in patrol cars, and deliver it to the cartel.3 Reportedly, the U.S.
 government donated these vehicles and further trained and equipped García Luna’s officers.4




 1
   United States v. Garcia Luna, 1:19-cr-00576, Dkt. 123-2 at 7-8 ( E.D.N.Y. Oct. 14, 2022); USA v. Garcia Luna,
 episode 2: the Mexican Hoover (Dec. 9, 2022), USA v. Garcia Luna, Episode 2: the Mexican Hoover (Dec. 9, 2022),
 Episode 2: The Mexican Hoover - USA v. García Luna - Omny.fm
 2
   USA v. Garcia Luna, Episode 9: The DEA Tapes, (Feb. 17, 2023) Podcast: The DEA Tapes. Episode 9, USA v.
 García Luna - Futuro HinojosaFuturo Hinojosa (futuroinvestigates.org)
 3
   Id.
 4
   Id.
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         Another witness, Sergio Villarreal Barragán, saw García Luna accept money from the
        5
 cartel. He was arrested in Mexico in September 2010. Upon arrest, DEA Assistant Special
 Agent in Charge Miguel Madrigal stated that Barragán cooperated within hours and told the
 DEA that García Luna had been working with the cartels.6
        This was not surprising news. According to reports, the U.S. government already knew
 that García Luna was corrupt.
         For example, according to journalists, a Mexican police commander reported García
 Luna’s corruption to the U.S. Embassy in 2008.7 U.S. Embassy officials responded to the
 commander that they were already investigating García Luna.8 One week later, García Luna’s
 officers arrested and tortured the commander.9 He remained in Mexican custody for four years
 before Mexico declared him innocent.10
        The safety and success of U.S. law enforcement efforts depends on the proper
 stewardship of U.S. law enforcement assets and information, which are dependent upon
 resources provided by the taxpayer. To that end, I request the following information no later than
 March 22, 2023.
     1) Please provide all recordings of García Luna.11 For each recording, please list the date the
        recording was made and the date that your agency became aware of it.

     2) Please provide all reports, notes, or other documents relating to García Luna’s criminal
        activity.
     3) Upon his arrest, García Luna gave U.S. law enforcement access to his cell phone and
        laptop. Please provide the content from García Luna’s cell phone and laptop.
     4) Please explain what each of your agencies knew about García Luna’s corruption and
        criminal activity, when your agencies learned the information, and how your agencies
        learned the information. Please identify the individuals to whom your agencies
        communicated that information and the dates on which each piece of information was
        communicated.


 5
   Keegan Hamilton, Vice News, How the Sinaloa Cartel Corrupts Mexican Cops and Operates With Impunity, (Jan.
 24, 2023), https://www.vice.com/en/article/epze4n/how-the-sinaloa-cartel-corrupts-mexican-cops-and-operates-
 with-impunity
 6
   Redacció FM, Almomentö, DEA knew links of the Sinaloa Cartel and Luna since 2010, say Miguel Madrigal,
 (Feb. 3, 2023), DEA knew links of the Sinaloa Cartel and Luna since 2010, says Miguel Madrigal - Almomento |
 News, national and international information
 7
   USA v. Garcia Luna, Episode 2: the Mexican Hoover (Dec. 9, 2022), Episode 2: The Mexican Hoover - USA v.
 García Luna - Omny.fm
 8
   Id.
 9
   Id.
 10
    Id.
 11
    A source reported to investigative journalists that, while visiting a DEA facility in the United States, the source
 listened to recordings of conversations between García Luna and Arturo Beltran Leyva. Podcast: The DEA Tapes.
 Episode 9, USA v. García Luna - Futuro HinojosaFuturo Hinojosa (futuroinvestigates.org)
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